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                    IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


STEWART CARNEY, JR., surviving spouse
of the decedent MONICA JEAN JOHNSON,
in his personal capacity, and
ROBERTA E. WINCHELL, ESQ. in her
capacity as Personal Representative of the
ESTATE OF MONICA JEAN JOHNSON,

             Plaintiffs,

V.                                                    Civil Action No. - - - - -

HANCOCK COUNTY, MAINE;
SCOTT KANE, in his individual and official
capacities as Hancock County Sheriff;
TIMOTHY RICHARDSON, in his
individual and official capacities as Hancock
County Jail Administrator; FRANK L.
SHEPARD, in his individual and official
capacities as Hancock County Assistant Jail
Administrator; AROOSTOOK MENTAL
HEALTH SERVICES, INC., a Maine
Corporation of Caribou, Aroostook County,
State of Maine;
KAYLA DUMOND; NOAH LEWEY;
TRAVIS YOUNG; RUSSELL WILSON;
CHRISTOPHER STANLEY;
JILLIAN JONES; ALICIA LAMBERT;
W. A. SCHAFFER; JOHN DOE I; and
JOHN DOE II,

             Defendants.


                                    COMPLAINT

      Plaintiffs Stewart Camey, Jr., in his personal capacity, and Roberta E. Winchell,

Esq., in her capacity as Personal Representative of the Estate of Monica Jean Johnson



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 (known, collectively hereafter as "Plaintiff'), bring this civil rights and wrongful death

 complaint, by and through their undersigned attorney, and alleged as follows:


                                JURISDICTION AND VENUE

         Plaintiff has suffered injuries due to the wrongful actions of the Defendants, and

this action is a case or controversy over which this Court has jurisdiction under Article III

of the United States Constitution.

         1.    This case is brought pursuantto 42 U.S.C. § 1983, with a supplemental state

 claim for wrongful death. Jurisdiction is based on 28 U.S.C. §§ 1331 and 1343. This

 Court has supplemental jurisdiction over the state law claim pursuant to 42 U.S.C. §

 1367.

         2.    Venue is proper in this Court under 28 U.S.C. § 139l(b), because the claims

 for relief arose in this District.

         3.    Plaintiff has complied with Me. Rev. Stat. tit. 14, § 8107, part of the Maine

 Tort Claims Act, in that he/she timely filed a notice of tort claim with Defendant Hancock

 County. The claim was denied.


                                         PARTIES

         4.    Decedent, Monica Jean Johnson ("Decedent"), is represented in this

 litigation by Roberta E. Winchell, Esq., as the Personal Representative of the Estate of

Monica Jean Johnson. The successor in interest of the Decedent is her husband, Stewart

 Carney, Jr. The Decedent was at all times mentioned incarcerated at the Hancock County


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Jail. The Decedent died as a result of the unlawful actions of the above-named

Defendants. The Decedent and her Personal Representative bring this complaint for relief

through her Estate and her husband Stewart Camey, Jr., her successor in interest.

         5.    Plaintiff Stewart Camey, Jr. is a resident of the City of Brewer, County of

Penobscot, State of Maine, who brings his claims for relief in his own right and as

successor in interest to the Estate of Monica Jean Johnson.

         6.    Plaintiff Roberta E. Winchell, Esq., the personal representative of the Estate

of Monica Jean Johnson, is a resident of the City of Bangor, County of Penobscot, State

of Maine, who brings this claim for relief on behalf of the Estate of Monica Jean Johnson.·

         7.    Defendant Hancock County, Maine, is a political subdivision of the State of

Maine.

         8.    Defendant Aroostook Mental Health Services, Inc., is a Maine Corporation

that provides health services for various locations in Maine, including the Hancock

County Jail in the City of Ellsworth, County of Hancock, State of Maine.

         9.    During all times mentioned, Defendant Scott Kane was the Hancock County

Sheriff. He was the chief county law enforcement officer for Hancock County, having

custody and charge of the Hancock County Jail and of all prisoners in that jail.

         10.   During all times mentioned, Defendant Timothy Richardson was Jail

Administrator at the Hancock County Jail.

         11.   During all times mentioned, Defendant Frank L. Shepard was Assistant Jail



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Administrator at the Hancock County Jail.

      12.   During all times mentioned, Defendant Kayla Dumond was a Correctional

Officer at the Hancock County Jail.

      13.   During all times mentioned, Defendant Noah Lewey was a Correctional

Officer at the Hancock County Jail.

      14.   During all times mentioned, Defendant Travis Young was a Correctional

Officer at the Hancock County Jail.

      15.   During all times mentioned, Defendant Russell Wilson was a Correctional

Officer at the Hancock County Jail.

      16.   During all times mentioned, Defendant Christopher Stanley was a

Correctional Officer at the Hancock County Jail.

      17.   During all times mentioned, Defendant Jillian Jones was a Correctional

Officer at the Hancock County Jail.

      18.   During all times mentioned, Defendant Alicia Lambert was a Licensed

Social Worker at the Hancock County Jail.

      19.   During all times mentioned, Defendant W.A. Schaffer, M.D., was a

psychiatrist employed to provide psychiatric services for detainees at the Hancock

County Jail, including the Decedent. Defendant Schaffer was responsible for the

adequate provision of medical care to the detainee population at the Hancock County

Jail, including the Decedent, pursuant to the Fourteenth Amendment of the United States



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Constitution and other applicable law.

       20.   During all times mentioned, Defendants John Doe I and John Doe II were

employees or agents of the Hancock County Jail, whose identity has not yet been

determined. The names of other officers, health care providers, staff and other personnel

involved in the incidents out of which this Complaint arises, and those officers, staff and

personnel responsible for supervision, training, and determination of policy whose acts

or omissions were material to the unlawful death of the Decedent are at this time

unknown to Plaintiff. Consequently, Plaintiff sues these Defendants under the fictitious

nanies of John Doe I and John Doe II. Plaintiff will amend this Complaint to allege the ·

true names and capacities when ascertained. Plaintiff is informed and believes and, on

that basis, alleges that each of the fictitiously named Defendants is liable for the acts and

omissions concerning the events and happenings referred to, which proximately caused

damages and injuries to Plaintiff.

       21.   Defendants Kane, Richardson and Shepard were responsible for decisions

concerning staff employment and training, and the· preparation, selection and

implementation of policies, procedures and guidelines concerning the protection of

detainees at the Hancock County Jail from suicide and self-harm. They were also

responsible for the conduct of the employees and contractors at the Hancock County Jail,

including correctional officers and medical staff. The decisions made regarding policies

for the protection of detainees' physical safety, and the medical and psychiatric policies

by these Defendants, directly and adversely affected the Decedent's ability to be safe



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from psychiatric indifference and suicide.

       22.     The named Defendants are sued in their individual capacities and as

employees of Hancock County and the Hancock County Jail.

       23.     Plaintiff is informed and therefore believes and, on that basis, alleges that at

all times and places mentioned, each of the Defendants was the agent, representative

and/or employee of the remaining Defendants and was, at all times and places mentioned,

acting within the purpose and scope of that agency, representation and/or employment.

       24.     The events giving rise to this Complaint occurred in Hancock County,

Maine, within the jurisdiction of the United States District Court for the District of

Maine.

       25.     At all times mentioned, all of the named Defendants were acting within the

course and scope of their employment and under color of state law.

         26.   All of the individuals named as Defendants are sued in their individual and

official capacities.


         FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

         27.   The allegations in this section are alleged on Plaintiffs information and

belief and, on that basis, are alleged to be true.

         28.   The Decedent was incarcerated at the Hancock County Jail on September

21, 2018, having been arrested on drug-related charges.




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        29.   Forms completed by the Decedent for standardized screening indicate that

she was suffering from severe depression and anxiety.

        30.   The Decedent had high scores on a form or test meant to indicate any

suicidal tendencies.

        31.   The Decedent, on an inmate medical request form submitted on September

24, 2018, asked to see a psychiatrist and asked for that help "ASAP," using exclamation

marks for emphasis.

        32.   On September 26, 2018, Defendant Alicia Lambert administered a checklist

form to the Decedent that is used as an inmate safety assessment by the Hancock County

Jail.

        33.   At least two other detainees in the same cell block who had seen the

Decedent expressed concern about the Decedent and told jail authorities and personnel

that the Decedent had spoken of harming or killing herself, and that she may have already

tried to harm herself.

        34.   One detainee reported to the Maine State Police in a subsequent

investigation that the Decedent had told her that the Decedent planned to hang herself in

the shower but decided not to when she was temporarily cheered up by fellow detainees.

        35.   At one point, the Decedent had tied a bra around her neck while in the

Hancock County Jail.

        36.   The Decedent had suffered a traumatic brain injury about one-and-a-half



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years before her suicide.

       37.      The Decedent previously had been hospitalized for mental illness, and she

had previously been incarcerated.

       38.      The Decedent had experienced weight loss and possibly post-traumatic

stress disorder while incarcerated in the Hancock County Jail.

       39.      Notwithstanding the multiple indications and warnings that the Decedent

was at high risk for suicide, and their awareness of same, the Defendants took no action

to protect her from suicide or to provide appropriate medical care.

       40.      Notwithstanding the multiple indications and warnings that the Decedent

was at high risk for suicide, shortly before her suicide, the Decedent was moved into the

general jail population, and into a cell by herself, where she would commit suicide.

       41.      There was a delay of one or two days before the Decedent was given only a

phone conversation with a psychiatrist, Defendant Schaffer, not an in-person

consultation.

       42.      The psychiatrist, Defendant Schaffer, failed to act on the screening

information indicating a risk of suicide for the Decedent, and he performed no suicide

risk assessment.

       43.      The Decedent was never put on a suicide watch at the Hancock County Jail.


       44.      The Hancock County Jail's policies concerning psychiatric services for

detainees were vague and out of date.


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      45.     The Decedent hung herself with a bed sheet at 4:52 a.m. on September 29,

2018, having been last observed in her cell at 4:21 a.m. that day.

       46.    Throughout her incarceration at the Hancock County Jail, the Decedent

never received the level of medical and mental health diagnosis, medication or treatment

she needed and which the Defendants were constitutionally required to provide. Because

of the way she was treated by the Defendants, the Decedent gradually exhibited

increasing signs of severe depression and possible suicidal ideation, yet a comprehensive

treatment plan for her physical and mental health was never developed. Instead, she was

either mistreated · or ignored by the Defendants, in a manner showing ·deliberate

indifference to the Decedent's need for mental health care and protection against suicide.


                           FIRST CLAIM FOR RELIEF
                          (Violation of 42 U.S.C. § 1983)
         Denial of Rights Under the United States Constitution, Fourteenth
       Amendment; Deliberate Indifference to Medical and Mental Health Needs

       47.    Plaintiff incorporates by reference all of the preceding paragraphs as if set

forth here.

       48.    Defendants Kane, Richardson and Shepard, as Hancock County Sheriff,

Hancock County Jail Administrator and Assistant Hancock County Jail Administrator,

respectively, were responsible for establishing, implementing and enforcing policies,

practices and procedures designed to assure that the Decedent, as a pretrial detainee

incarcerated at the Hancock County Jail, received adequate medical attention and

treatment, including treatment for anxiety and depression, and that she be protected from



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self-harm and suicide.

       49.   However, Defendants Kane, Richardson and Shepard's policies, practices

and procedures were not designed to assure that the Decedent received adequate medical

attention and treatment for her anxiety and depression, or that she be protected from self-

harm and suicide.

       50.   Thus, Defendants Kane, Richardson and Shepard adopted policies,

practices, and procedures which they knew, or reasonably should have known, would be

ineffective in delivering adequate medical attention and treatment for serious mental

health needs, and in protecting her from self-harm and suicide.

       51.   The remaining individual Defendants, as correctional officers, a licensed

social worker and a psychiatrist working at the Hancock County Jail, were deliberately

indifferent to the Decedent's suicidal condition. Their acts and omissions deprived the

Decedent of needed medical care and protection from self-harm and suicide, thereby

causing the deprivation of the Decedent's clearly established constitutional rights.

       52.   The policies, customs and practices of Hancock County, at the Hancock

County Jail, were the moving force behind, and the proximate cause of, the violation of

the Decedent's constitutional rights which led to her suicide.

       53.   All of the Defendants were acting in the scope of their official duties and

under color of state law.

       54.   The acts and omissions of all of the Defendants violated the Decedent's




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substantive right to due process under the Fourteenth Amendment to the United States

Constitution, in that they denied the Decedent adequate medical care and treatment and

protection from self-harm and suicide.

       55.   As a result of the actions and omissions of all of the Defendants, and each

of them, the Decedent was not provided adequate or necessary medical and mental health

services, nor protection against suicide. These deprivations resulted in the Decedent's

death by suicide, causing her great physical pain and suffering, great mental pain and

shock to her nervous system, and, ultimately, death.

       56.   The deliberate indifference caused a grave harm resulting in the Decedent's

death by suicide. The Defendants had actual or constructive knowledge of that risk, and

the Defendants failed to take easily available measures to address the risk to prevent the

suicide.

       57.   The physical and emotional injuries suffered by the Decedent were the

result of the named and unnamed Defendants' recklessness, oppression, and deliberate

indifference to her suicidal condition. Plaintiff is therefore entitled to punitive damages

against the individual Defendants for the pain and suffering the Decedent experienced

prior to her death.



                            SECOND CLAIM FOR RELIEF
                             (Violation of 42 U.S.C. § 1983)
                       Failure to Train and Supervise Employees

       58.   Plaintiff incorporates by reference all of the preceding paragraphs as if set


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forth here.

       59.    Defendant administrative and supervisory personnel were charged by law

with the selection, assignment, supervision and training of officers, psychiatrist and

medical staff, employees, and contracted medical practitioners for the Hancock County

Jail. At all times material, they failed to properly train and supervise personnel

regarding policy and procedures, and state and federal statutory duties to provide

detainees with necessary and appropriate medical and mental health services, to

respond to detainees' apparent immediate needs for mental and/or medical treatment,

and to protect against detainees' self-harm c1nd suicide.

       60.    Defendants' clear deliberate indifference in failure of administrative and

supervisory roles to provide training and supervision was the deficient performance of

the task that contributed to the civil rights deprivation.

       61.    The failure of administrative and supervisory roles of the Defendants in

providing training and supervision regarding the statutory and constitutional duties to

provide safe. custody for detainees entrusted to their care and to provide necessary and

adequate mental health services amounts to gross negligence and a deliberate

indifference to the safety and lives of detainees. This gross negligence and deliberate

indifference were proximate causes of the death of the Decedent.

       62.    The acts and omissions of all of the individual Defendants demonstrated

reckless indifference to and a conscious disregard for the well-being of the Decedent and

her constitutional rights.




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       63.     As a result of the actions and omissions of all of the Defendants, and each

of them, the Decedent was not provided adequate or necessary medical and mental health

services, nor protection against suicide. These deprivations of the Decedent's substantive

right to due process under the Fourteenth Amendment to the United States Constitution

resulted in the Decedent's death by suicide, causing her great physical pain and suffering,

great mental pain and shock to her nervous system, and, ultimately, death.

       64.      The physical and emotional injuries suffered by the Decedent were the result

of the named and unnamed Defendants' recklessness, oppression, and deliberate

indifference to her suicidal condition. Plaintiff is therefore entitled to punitive. damages

against the individual Defendants for the pain and suffering the Decedent experienced

prior to her death.


                                 THIRD CLAIM FOR RELIEF
                          (Pendent State Claim-Wrongful Death)
              (Me. Rev. Stat. tit. 18-C, § 2-807; Me. Rev. Stat. tit. 14, § 8104-C)

       65.      Plaintiff incorporates by reference all of the preceding paragraphs as if set

forth here.

       66.      All of the Defendants, and each of them, had the duty to provide immediate

medical care to the Decedent who suffered a serious and obvious medical condition, that

is, severe anxiety and depression, and to protect the Decedent from self-harm or suicide.

Staff and other detainees had complained to the Defendants that the Decedent was

suicidal, and the Decedent herself had urgently asked for help, but the Defendants failed

and/or refused to summon and provide necessary medical care to address the Decedent's


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serious and obvious medical condition, and otherwise to protect her from committing

suicide.

       67.   All of the Defendants knew, or in the exercise of ordinary care should have

known, that the Decedent was severely depressed, to the point of being suicidal.

       68.   Among other negligent acts or omissions, the Defendants failed to provide

regular and continuous observation and supervision of the activities of the Decedent.

       69.   Despite the Defendants' actual and/or constructive knowledge of the

Decedent's desperate need for medical care, the Defendants negligently failed or refused

to provide the Decedent with adequate medical assistance or to protect her from suicide,

thereby breaching duties they owed to the Decedent.

       70.   As a legal and proximate result of the Defendants' failure to provide

adequate medical care and to protect the Decedent from suicide, the Decedent suffered

great physical pain, great mental pain, shock to her nervous system, and, ultimately,

death, all to Plaintiff's damage as set forth below.

       71. The Defendants have been guilty of recklessness and conscious disregard for

the Decedent's well-being while she was in their custody and care, leading to the death

of the Decedent. As a consequence, Plaintiff is entitled to punitive damages against the

individual Defendants, attorney's fees, and costs.


                                REQUEST FOR RELIEF

       WHEREFORE, as a proximate result of the Defendants' wrongful and unlawful



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actions described above, Plaintiff requests the following:

       1.    Mortuary, funeral and burial expenses, and incidental expenses;

       2.    General damages as to the Decedent, including damages for physical and

emotional pain, emotional distress, hardship, suffering, shock, worry, anxiety,

sleeplessness, illness and trauma and suffering and, for Plaintiff, the loss of the services,

society, care and protection of the Decedent;

       3.    Punitive damages against the individual Defendants, according to proof;

       4.    Prejudgment interest;

       5.    Attorney fees and costs pursuant to 42 U.S.C. § 1988; and

       6.    Such other and further relief as the Court deems just and proper.
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Dated: September,t--
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                  _ , 2020.                        Udr              ~


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